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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK
______________________________________

JEROME CURRY,
                                                                 DECISION
                                 Plaintiff,                        and
                    v.                                            ORDER

MARK L. BRADT, Superintendent of                               13-CV-00355F
 Attica Correctional Facility, and                                (consent)
WILLIAM HUGHES, Deputy Superintendent of
 Security of Attica,

                           Defendants.
______________________________________


APPEARANCES:               JEROME CURRY, Pro Se
                           98-A-6098
                           Green Haven Correctional Facility
                           Box 4000
                           Stormville, New York 12582-0010

                           ERIC T. SCHNEIDERMAN
                           ATTORNEY GENERAL, STATE OF NEW YORK
                           Attorney for Defendants
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                                   JURISDICTION

      On March 3, 2015, the parties to this action consented pursuant to 28 U.S.C. §

636(c)(1), to proceed before the undersigned. The matter is presently before the court

on Defendants’ motion for summary judgment (Doc. No. 30), filed September 30, 2014.
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                                     BACKGROUND and FACTS1

          Plaintiff Jerome Curry (“Plaintiff” or “Curry”), proceeding pro se, commenced this

action on April 9, 2013, pursuant to 42 U.S.C. § 1983 (“§ 1983”), and the Religious Land

Use and Institutionalized Persons Act of 2000, 42 U.S.C. § 2000cc (“RLUIPA”), naming

as Defendants two employees of New York’s Department of Corrections and

Community Supervision (“DOCCS”), including Mark L. Bradt (“Bradt”), Superintendent

of Attica Correctional Facility (“Attica” or “the correctional facility”), and William Hughes

(“Hughes”), Deputy Superintendent of Security at Attica (together, “Defendants”).

Plaintiff’s amended complaint filed January 29, 2014, (Doc. No. 20) (“Amended

Complaint”), is also pursuant to § 1983 and RLUIPA, and against Bradt and Hughes. In

particular, Plaintiff alleges that while incarcerated at Attica, his rights to religious

freedom under the First Amendment and RLUIPA were violated during Ramadan 2012

when Plaintiff was returned to his cell on unspecified occasions when called to break

the religious Ramadan fast, thereby missing meals, Amended Complaint ¶¶ 4-5, 6, 12,

14, 15, and was fed only one hot meal and one cold meal, instead of two hot meals,

during Ramadan, id. ¶¶ 10. Plaintiff further alleges he was denied meals on 12 to 13

occasions causing Plaintiff to experience extreme hunger, in violation of the Eighth

Amendment’s prohibition against cruel and unusual punishment, id. ¶¶ 10-11, and was

denied writing instruments and paper necessary to file inmate grievances regarding the

alleged violations in violation of the First Amendment right to petition for redress of

grievances. Id. ¶ 12-13. Plaintiff’s claim for relief seeks monetary damages and

unspecified injunctive relief. Id. at 10. On February 11, 2014, Defendants filed their

answer to the Amended Complaint (Doc. No. 22).
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    The Facts are taken from the pleadings and motion papers filed in this action.

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          On September 30, 2014, Defendants filed the instant motion for summary

judgment (Doc. No. 30) (“Defendants’ motion”), and supporting papers including

Defendants’ Memorandum of Law in Support of Motion for Summary Judgment (Doc.

No. 31) (“Defendants’ Memorandum”), the Declaration of Mark Bradt (Doc. No. 32)

(“Bradt Declaration”), the Declaration of Joseph Chisholm (Doc. No. 33) (“Chisholm

Declaration”), the Declaration of William Hughes (Doc. No. 34) (“Hughes Declaration”),

the Declaration of Assistant Attorney General (“AAG”) Kim S. Murphy (Doc. No. 35)

(“Murphy Declaration”), attaching exhibits A through I (“Defendants’ Exh(s). __”), and

the Statement of Undisputed Facts (Doc. No. 36) (“Defendants’ Statement of Facts”).

On March 26, 2015, Plaintiff filed Plaintiff’s Opposition Motion to Defendant’s Motion for

Summary Judgment (Doc. No. 43) (“Plaintiff’s Opposition”),2 the Statements [sic] of

Undisputed Facts (Doc. No. 45) (“Plaintiff’s Statement of Facts”), and the Declaration of

Jerome Curry (Doc. No. 46) (“Plaintiff’s Declaration”). On April 13, 2015, Defendants

filed the Declaration of AAG Murphy (Doc. No. 47) (“Murphy Reply Declaration”). On

April 23, 2015, Plaintiff filed a Declaration in further opposition to Defendant’s motion

(Doc. No. 48) (“Plaintiff’s Sur-Reply Declaration”). Oral argument was deemed

unnecessary.

          Based on the following, Defendants’ motion is GRANTED.



                                                DISCUSSION

          Summary judgment of a claim or defense will be granted when a moving party

demonstrates that there are no genuine issues as to any material fact and that a moving

party is entitled to judgment as a matter of law. Fed. R. Civ. P. 56(a) and (b); Celotex
2
    Plaintiff’s Opposition was also filed as Doc. No. 44.

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Corp. v. Catrett, 477 U.S. 317, 322 (1986); Anderson v. Liberty Lobby, Inc., 477 U.S.

242, 250-51 (1986); Miller v. Wolpoff & Abramson, L.L.P., 321 F.3d 292, 300 (2d Cir.

2003). The court is required to construe the evidence in the light most favorable to the

non-moving party. Collazo v. Pagano, 656 F.3d 131, 134 (2d Cir. 2011). The party

moving for summary judgment bears the burden of establishing the nonexistence of any

genuine issue of material fact and if there is any evidence in the record based upon any

source from which a reasonable inference in the non-moving party's favor may be

drawn, a moving party cannot obtain a summary judgment. Celotex, 477 U.S. at 322;

see Anderson, 477 U.S. at 247-48 (“summary judgment will not lie if the dispute about a

material fact is "genuine," that is, if the evidence is such that a reasonable jury could

return a verdict for the nonmoving party”). “A fact is material if it ‘might affect the

outcome of the suit under governing law.’” Roe v. City of Waterbury, 542 F.3d 31, 35

(2d Cir. 2008) (quoting Anderson, 477 U.S. at 248).

       “[T]he evidentiary burdens that the respective parties will bear at trial guide

district courts in their determination of summary judgment motions.” Brady v. Town of

Colchester, 863 F.2d 205, 211 (2d Cir. 1988)). A defendant is entitled to summary

judgment where “‘the plaintiff has failed to come forth with evidence sufficient to permit

a reasonable juror to return a verdict in his or her favor on’” an essential element of a

claim on which the plaintiff bears the burden of proof. In re Omnicom Group, Inc., Sec.

Litig., 597 F.3d 501, 509 (2d Cir. 2010) (quoting Burke v. Jacoby, 981 F.2d 1372, 1379

(2d Cir. 1992)). Once a party moving for summary judgment has made a properly

supported showing of the absence of any genuine issue as to all material facts, the

nonmoving party must, to defeat summary judgment, come forward with evidence that



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would be sufficient to support a jury verdict in its favor. Goenaga v. March of Dimes

Birth Defects Foundation, 51 F.3d 14, 18 (2d Cir. 1995). “[F]actual issues created

solely by an affidavit crafted to oppose a summary judgment motion are not ‘genuine’

issues for trial.” Hayes v. New York City Dept. of Corrections, 84 F.3d 614, 619 (2d Cir.

1996).

         In the instant case, Defendants argue in support of summary judgment that the

Defendants lack the necessary personal involvement for § 1983 liability on the First and

Eighth Amendment claims, Defendants’ Memorandum at 3-7, Plaintiff failed to exhaust

his administrative remedies related to the claimed denials of meals and hot meals, id. at

8-11, Plaintiff’s request for injunctive relief should be denied as moot, id. at 11-12,

Plaintiff’s RLUIPA claim for money damages is barred by the doctrine of sovereign

immunity, id. at 12-13, Plaintiff fails to state any recognizable cause of action, id. at 13-

19, and Plaintiff’s claims are barred by qualified immunity. Id. at 19-21. As discussed

below, even assuming, arguendo, but not finding, that the conduct of which Plaintiff

complains states a valid claim under § 1983 or RLUIPA, Defendants are entitled to

summary judgment because the record fails to establish the personal involvement of

Bradt or Hughes in any of Plaintiff’s § 1983 or RLUIPA claims, such that the court need

not address Defendants’ remaining arguments.

         Plaintiff essentially claims Defendants are liable under § 1983 and the RLUIPA

because Defendants maintained the policies or customs under which Plaintiff’s rights

allegedly were violated, were negligent in supervising other DOCCS employees who

denied Plaintiff his meals during Ramadan, or failed to take steps to end a continuing

violation of Plaintiff’s rights. As a prerequisite to relief under both § 1983 and the



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RLUIPA, a plaintiff must establish the personal involvement of defendants in the alleged

deprivations. Hernandez v. Keane, 341 F.3d 137, 144 (2d Cir. 2003) (“[S]upervisor

liability in a § 1983 action depends on a showing of some personal responsibility, and

cannot rest on respondeat superior.” (citing Al-Jundi v. Estate of Rockfeller, 885 F.2d

1060, 1065 (2d Cir. 1989))); Vann v. Fischer, 2012 WL 2384428, at * 5 (S.D.N.Y. June

21, 2012) (“‘Personal involvement is also a prerequisite to a defendant’s liability under

RLUIPA.’” (quoting Joseph v. Fischer, 2009 WL 3321011, at * 18 (S.D.N.Y. Oct. 8,

2009))). Further, personal liability of a supervisory defendant cannot be based “solely

on the defendant’s supervisory capacity or the fact that he held the highest position of

authority within the relevant governmental agency or department.” Houghton v.

Cardone, 295 F.Supp.2d 268, 276 (W.D.N.Y. 203). See Colon v. Coughlin, 58 F.3d

865, 874 (2d Cir. 1995) (“The bare fact that [the defendant] occupies a high position in

the New York prison hierarchy is insufficient to sustain [plaintiff’s] claim.”). “‘Absent

some personal involvement by [the supervisory official] in the allegedly unlawful conduct

of his subordinates,’ he cannot be liable under section 1983.” Id. at 144-45 (quoting Gill

v. Mooney, 824 F.2d 192, 196 (2d Cir. 1987)). Even an imperfect investigation, without

more, does not give rise to a constitutional violation. Friedman v. New York City Admin.

for Children’s Services, 502 Fed.Appx. 23, 27 (2d Cir. Nov. 6, 2012) (citing Wilkinson v.

Russell, 182 F.3d 89, 106 (2d Cir. 1999)).

       Supervisory liability under § 1983 and the RLUIPA

       can be shown in one or more of the following ways: (1) actual direct participation
       in the constitutional violation, (2) failure to remedy a wrong after being informed
       through a report or appeal, (3) creation of a policy or custom that sanctioned
       conduct amounting to a constitutional violation, or allowing such a policy or
       custom to continue, (4) grossly negligent supervision of subordinates who



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       committed a violation, or (5) failure to act on information indicating that
       unconstitutional acts were occurring.

Hernandez, 341 F.3d at 145 (citing Colon v. Coughlin, 58 F.3d 865, 873 (2d Cir. 1995))
(“Colon factors”).

In the instant case, Plaintiff has made no such showing as to either Defendant.

       In particular, it is undisputed that nothing in the record even remotely suggests

either Bradt or Hughes directly participated in any of the alleged constitutional or

RLUIPA violations as the first Colon factor requires. As such, Defendants’ personal

liability is not established under the first Colon factor.

       With regard to the second Colon factor, Plaintiff claims only that Bradt and

Hughes were made aware of the alleged constitutional and RLUIPA violations by the

grievances Plaintiff claims to have filed complaining of such violations. It is, however,

settled that “proof of ‘linkage in the prison chain of command’ is insufficient” to establish

personal involvement in an alleged violation. Hernandez, 341 F.3d at 144 (citing Ayers

v. Coughlin, 780 F.2d 205, 210 (2d Cir. 1985)). Specifically, “‘an official’s denial of a

grievance alleging a constitutional deprivation, without more, does not amount to

personal involvement in the deprivation of that right” under both § 1983 and the

RLUIPA. Ramrattan v. Fischer, 2015 WL 3604242, at * 10 (S.D.N.Y. June 9, 2015)

(quoting Joseph, 2009 WL 3321011, at * 18). Plaintiff thus has failed to establish

Defendants’ personal liability under the second Colon factor.

       In support of the third Colon factor, both Bradt and Hughes attribute the

coordination of all programming and security for religious celebrations to DOCCS

Central Office, which is also involved in ensuring the Ramadan meals comply with

religious doctrine and dietary requirements. Bradt Declaration ¶ 4; Hughes Declaration



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¶ 4. Significantly, Plaintiff submits nothing challenging these assertions and the

personal liability of either Defendant also fails under the third Colon factor.

       Insofar as the fourth Colon factor requires gross negligence in the supervision of

subordinates, there has been no allegation, and thus there can be no determination,

that any of Bradt’s or Hughes’s subordinates violated Plaintiff’s constitutional or RLUIPA

rights. Significantly, a supervisor cannot be deliberately indifferent to an inmate’s rights

absent a determination that at least one “subordinate committed an act amounting to a

constitutional violation.” Hernandez, 341 F.3d at 145. In the absence of any

determination, much less any evidence, that any other DOCCS employee violated

Plaintiff’s religious rights under the First Amendment or the RLUIPA, interfered with

Plaintiff’s First Amendment right to petition for redress of grievances, or denied Plaintiff

meals resulting in severe hunger, as Plaintiff alleges, so as to violate Plaintiff’s Eighth

Amendment protection against cruel and unusual punishment, neither Bradt nor Hughes

can be held liable on the fourth Colon factor based on negligent supervision of

subordinates.

       As regards the fifth Colon factor requiring Defendants exhibit deliberate

indifference to Plaintiff’s rights by failing to act on information that the alleged unlawful

acts were occurring, similar to the second Colon factor, “proof of ‘linkage in the prison

chain of command’ is insufficient” to establish personal involvement in an alleged

violation. Hernandez, 341 F.3d at 144 (citing Ayers, 780 F.2d at 210). Accordingly, the

fifth Colon factor is not established.




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       Plaintiff’s failure to establish any basis upon which either Bradt or Hughes can be

found to have been personally involved in the alleged constitutional or RLUIPA

violations requires the dismissal of all claims against them.



                                       CONCLUSION

       Based on the foregoing, Defendants’ motion (Doc. No. 32), is GRANTED. The

Clerk of the Court is directed to close the file.

SO ORDERED.

                                               /s/ Leslie G. Foschio
                                    ______________________________________
                                               LESLIE G. FOSCHIO
                                       UNITED STATES MAGISTRATE JUDGE

DATED:        March 31, 2016
              Buffalo, New York




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